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  11
                          UNITED STATES DISTRICT COURT
  12                   CENTRAL DISTRICT OF CALIFORNIA
  13
  14 META PLATFORMS, INC.,                    Misc. Case No.
                                              2:22-mc-00147-PA-AGRx
  15             Moving Party,
                                              Underlying action in United States
  16        v.                                District Court for the Northern District of
                                              California, No. 3:20-cv-08570-JD
  17 SNAP INC.,
                                              META PLATFORMS, INC.’S
  18                    Responding Party.     SUPPLEMENTAL MEMORANDUM
                                              IN SUPPORT OF ITS MOTION TO
  19                                          COMPEL AND OPPOSITION TO
                                              SNAP INC.’S CROSS-MOTION TO
  20                                          QUASH
  21                                          Judge: Hon. Alicia G. Rosenberg
                                              Hearing Date: September 13, 2022
  22                                          Time: 11:00 a.m.
                                              Location: Courtroom 550
  23                                          Roybal Federal Building and United
                                              States Courthouse
  24
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                                                     META’S SUPPLEMENTAL MEM. –
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   1         Meta seeks relevant and necessary discovery from Snap – an acknowledged
   2 competitor and alleged victim of Meta’s conduct in two private class actions
   3 (“Klein”) pending in N.D. Cal. While “recogniz[ing] that it will need to provide
   4 some additional discovery” here, Klein Joint Statement (“J.S.”) at 41, Dkt. 1-1, Snap
   5 has stonewalled and delayed. Snap provided a take-it-or-leave-it offer to produce
   6 only a handful of documents, subject to numerous inappropriate conditions,
   7 including a new protective order and Meta paying its fees. This offer did not
   8 include the vast majority of documents Meta needs to defend itself, and included no
   9 customary custodial searches for relevant emails and documents. While not a party
  10 to this action, Snap is interested in its outcome. Public reporting indicates Snap has
  11 spent years developing a strategy to bring antitrust litigation against Meta, J.S. at 17
  12 n.13, and its steadfast refusal to cooperate in discovery is part of its plan of attack.
  13         Snap spills much ink in the Klein Joint Statement regarding the scope, burden,
  14 and necessity of documents that Meta requested in a different subpoena regarding
  15 different litigation challenging different conduct brought by a different plaintiff (the
  16 FTC). These arguments should not distract from this motion, which asks the Court
  17 to compel Snap to produce documents responsive to only eight narrow requests 1
  18 specific to Klein. These requests are relevant to the Klein Plaintiffs’ Sherman Act
  19 Section 1 and 2 theories regarding Meta’s alleged privacy misrepresentations;
  20 Meta’s non-exclusive agreement with Google concerning advertising auctions run
  21 by Google; and Plaintiffs’ damages theory. In contrast, the FTC litigation attacks
  22 Meta’s acquisitions of Instagram and WhatsApp, and seeks injunctive relief. Snap’s
  23 arguments about the relevance and burden of Meta’s subpoena requests issued in the
  24 FTC litigation have no bearing on the relevance and burden of Meta’s requests in
  25 the subpoena in this separate case. See In re Subpoena to Jodie Strain, 2013 WL
  26
  27         Meta’s ninth request asks for any documents Snap produced in the FTC case
             1

     – but there is no dispute over this one, as Snap stated it “has no objection to Meta’s
  28 using documents produced in the FTC action as part of the Klein action.” J.S. at 40.
                                                            META’S SUPPLEMENTAL MEM –
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   1 12155022, at *3 (S.D. Tex. June 19, 2013) (rejecting nonparty’s attempt to combine
   2 burden from subpoenas requesting party issued in other cases); Whatley v. World
   3 Fuel Servs. Corp., 2020 WL 261209, at *3 n.5 (S.D. Fla. May 22, 2020) (similar).
   4         Whether Snap should be compelled to produce the eight categories of
   5 documents is a “case specific inquiry.” United States v. Gilead Scis., 2021 WL
   6 8893652, at *5 (C.D. Cal. Feb. 22, 2021); Aristocrat Leisure Ltd. v. Deutsche Bank
   7 Tr., 262 F.R.D. 293, 300 (S.D.N.Y. 2009). These requests seek documents relevant
   8 to Meta’s defenses in Klein. Snap does not argue otherwise. Instead, Snap asserts
   9 that Meta requests sensitive information and that producing it would be burdensome.
  10 But Snap provides no support for these positions other than its attorney’s say-so.
  11 Snap’s assertions are not supported by an affidavit or any evidence – a requirement
  12 in this District (and others across the country) for non-parties resisting production.
  13         The Court should not quash the subpoena and send the parties back to square
  14 one. J.S. at 36-41. Meta served the subpoena six months ago, and narrowed it to
  15 only nine targeted and necessary requests. The Court should order Snap to produce
  16 the highly relevant documents Meta seeks.
  17 I.      Snap Has Not Shown That Meta Seeks Its Trade Secrets
  18         Snap argues (at 75) that the subpoena should be quashed because Meta has
  19 not shown a substantial need for Snap’s most confidential information. However,
  20 Snap asserts trade-secret status for only one of the eight requests (RFP 41), and it
  21 has not substantiated that assertion. Snap identifies, in bullet form in an
  22 introduction section, three requests (RFPs 22, 34, 36) that (supposedly) “obviously”
  23 contain trade secrets, but makes no request-specific arguments.
  24         The “substantial need” standard applies only if Snap carries its initial burden
  25 of making a “strong showing” that the requests seek actual “trade secrets” or
  26 “confidential . . . commercial information” (referred to herein as “trade secrets”).
  27 Fed. R. Civ. P. 45(d)(3)(B)(i); Nguyen v. Lotus By Johnny Dung Inc., 2019 WL
  28 4570032, at *4 (C.D. Cal. Apr. 12, 2019). Snap “must first demonstrate by
                                                           META’S SUPPLEMENTAL MEM.–
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   1 competent evidence” – i.e., affidavits or declarations, not just “general assertions” –
   2 the information is a trade secret. Heredia v. Sunrise Senior Living LLC, 2020 WL
   3 3108699, at *4-5 (C.D. Cal. Jan. 31, 2020) (emphasis added). Courts routinely
   4 reject generic invocations of trade secrets without any evidence substantiating the
   5 claim. See, e.g., Nguyen, 2019 WL 4570032, at *4; Nat’l Acad. of Recording Arts &
   6 Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 683 (C.D. Cal. 2009) (rejecting
   7 trade-secret claim because “defendant has not presented any declarations from its
   8 officers or employees supporting its claim that the information sought . . . is a ‘trade
   9 secret’ ”); Hill v. Eddie Bauer, 242 F.R.D. 556, 561-62 (C.D. Cal. 2007) (same);
  10 Heredia, 2020 WL 3108699, at *4 (same); RG Abrams Ins. v. Law Offices of C.R.
  11 Abrams, 2021 WL 4974618, at *8 (C.D. Cal. July 14, 2021) (same). 2
  12         Snap’s generalized invocation of “trade secrets” fails to make a “strong
  13 showing” that any specific request seeks any specific trade-secret information. It
  14 has offered no competent evidence supporting its claim of trade secrets. Snap
  15 instead argues (at 55) it is exempt from proving trade-secret status because it is
  16 “obvious” “Meta seeks confidential mater [sic].” This is a conclusory argument
  17 courts routinely reject. E.g., Nat’l Acad., 256 F.R.D. at 683 (“Without any
  18 declarations to support its confidentiality claim, the Court cannot simply assume
  19 defendant keeps this information confidential.”); U.S. Interloc Matting. v. Macro
  20 Plastics, 2017 WL 9565569, at *3 (E.D. Cal. Nov. 14, 2017) (“vague and
  21 conclusory allegations . . . do not provide any specific argument or evidence to
  22 allow the court to determine . . . if . . . documents contain trade secrets”). Indeed, in
  23 all the cases Snap cites (at 53) to support its position that the material requested is
  24 “obviously” confidential, the party alleging trade secrets provided declarations from
  25 employees explaining the confidential nature of the information requested.
  26
  27         Countless other courts do so as well. See, e.g., In re Ambercroft Trading
             2

     Ltd., 2018 WL 4773187, at *9 (N.D. Cal. Oct. 3, 2018); In re Rail Freight Fuel
  28 Surcharge Antitrust Litig., 2010 WL 11613859, at *3 (D.D.C. Sept. 9, 2010).
                                                            META’S SUPPLEMENTAL MEM.–
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   1 II.    Meta Has Substantial Need for These Highly Relevant Documents
   2        Even if Snap had identified specific trade secrets (it has not), Meta has
   3 substantial need for Snap’s documents regarding Plaintiffs’ exclusionary conduct
   4 claims. Snap does not seriously dispute this for seven of the eight requests; it
   5 specifically attacks only RFP 41, which is relevant to the Klein Plaintiffs’ theory
   6 that Meta misrepresented its privacy practices to users for 15 years. According to
   7 Plaintiffs, Meta’s alleged deceit allowed Meta to acquire and maintain a monopoly,
   8 foreclosing competition from apps with better privacy. As Meta explained in the
   9 Joint Statement (at 64-67), Meta has a substantial need for Snap’s documents
  10 responsive to RFP 41, which seeks documents regarding one specific incident of
  11 alleged deception, relating to “Cambridge Analytica,” in 2018. Snap, a Meta
  12 competitor allegedly harmed by this supposed misrepresentation, is the only entity
  13 that can document whether Snap was indeed harmed and whether Meta’s alleged
  14 deceptions actually impacted users’ decisions to use Snap’s products.
  15 III.   Snap Has Failed To Prove Any Burden
  16        Meta significantly reduced the number and scope of requests at issue. They
  17 are not burdensome. Unsurprisingly, Snap has not substantiated any burden
  18 argument for any of the eight disputed requests. Snap must support its claim of
  19 burden with “affidavits or other evidence showing the exact nature of the burden.”
  20 Blagman v. Apple, 2014 WL 12607841, at *3 (C.D. Cal. Jan. 6, 2014). “ ‘Ipse dixit’
  21 and ‘counsel’s mere say-so’ do not suffice.” Doe v. Wesleyan Univ., 2021 WL
  22 4704852, at *7 (D. Conn. Oct. 8, 2021).
  23        Snap either (a) makes no burden argument (RFP 22), (b) merely asserts
  24 compliance would involve a burden without any explanation (RFPs 20, 41, 34-36),
  25 or (c) offers no proof of its burden, instead making only general and conclusory
  26 arguments based on its counsel’s say-so (RFPs 24, 43). For example, Snap’s burden
  27 argument for RFP 20 states only “Klein RFP 20 is overly broad and unduly
  28 burdensome,” without further explanation. J.S. at 74. That is insufficient. See State
                                                          META’S SUPPLEMENTAL MEM.–
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   1 Farm Mut. Auto. Ins. v. Elite Health Ctrs, Inc., 364 F. Supp. 3d 758, 766-67 (E.D.
   2 Mich. 2018); In re Apple iPhone Antitrust Litig., 2021 WL 718650, at *2 (N.D. Cal.
   3 Feb. 24, 2021). And Snap fails to offer any affidavit whatsoever to support any
   4 burden argument regarding the Klein subpoena. See Roy v. County of Los Angeles,
   5 2016 WL 11783814, at *4 (C.D. Cal. Nov. 18, 2016) (without declaration, nonparty
   6 “cannot satisfy its burden of showing undue burden”).
   7        Snap tries to overcome its failure to offer specific evidence regarding burden
   8 by repeating that the Court must consider the subpoena’s “cumulative” burden. But,
   9 it is impossible to evaluate the “holistic burden” of Meta’s subpoena because Snap
  10 made no effort to specify the individual burden of any of the requests, even as Meta
  11 narrowed the subpoena to just eight. Snap did no work to elaborate its burden, not
  12 even attempting to estimate the time and cost to review responsive hits based on its
  13 own custodians and search terms. It is no answer to assert (as Snap does) that it
  14 would be burdensome to assess burden. See Stati v. Rep. of Kazakhstan, 2020 WL
  15 3259244, at *9 (D.D.C. June 5, 2020) (non-party failed to establish burden without
  16 “actually conduct[ing] a preliminary search”); State Farm, 364 F. Supp. 3d at 767
  17 (party responding should “[b]e prepared to support allegations of undue burden with
  18 detailed cost and time calculations, supported by knowledgeable declarations”).
  19                                          ***
  20        Parsing Snap’s response to each request demonstrates just how scant Snap’s
  21 arguments are: Snap does not argue that any of the eight requests are irrelevant. It
  22 has not demonstrated with any affidavits or evidence that any of the eight requests
  23 actually seek trade secrets (and only gestures toward even asserting trade-secret
  24 status for one of its eight request-specific arguments). Even if it had, Snap argues
  25 Meta has no substantial need for documents responsive to only one of eight requests,
  26 which Meta has demonstrated is incorrect. Finally, Snap has not substantiated its
  27 burden claim with any specific evidence for any of the eight requests (and only even
  28 mentions burden, cursorily, for two). The Court should grant Meta’s motion.
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   1 DATED: August 30, 2022            Respectfully submitted,
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                                                      META’S SUPPLEMENTAL MEM.–
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